                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MISSOURI


TED ENTERTAINMENT, INC.,                           )
                                                   )
                           Plaintiff,              )
                                                   )
   v.                                              )     Case No. 4:25-cv-459
                                                   )
KACEY CAVINESS p/k/a KACEYTRON,                    )
and                                                )
DOES 1-10,                                         )
                                                   )
                         Defendants.               )


                CERTIFICATION AND NOTICE OF INTERESTED PARTIES
                                (LOCAL RULE 7.1)



TO THE COURT AND ALL PARTIES OF RECORD:

         The undersigned counsel of record for Plaintiff Ted Entertainment, Inc. certifies that the

following listed parties may have a pecuniary interest in the outcome of the case. These

representations are made to enable the Court to evaluate possible disqualification or recusal.

 Party                                                 Connection/Interest

 Ted Entertainment, Inc.                               Plaintiff

 Kacey Caviness p/k/a Kaceytron                        Defendant


                                              Respectfully submitted,

                                               By: /s/ James J. Kernell
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